                Case 3:21-md-02981-JD Document 828-1 Filed 11/28/23 Page 1 of 3
                                     UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA

Cases: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
       21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                   PLAINTIFF’S ATTORNEY:                  DEFENSE ATTORNEY:
 Hon. James Donato                        Lauren Moskowitz,                      Lauren Bell, Jonathan Kravis,
                                          Yonatan Even, Gary Bornstein,          Michelle Chiu, Brian Rocca,
                                          Brent Byars, Andrew Wiktor             Kuru Olasa, Kyle Mach,
                                                                                 Justin Raphael, Glenn Pomerantz
 JURY TRIAL DATE:                         REPORTER(S):                           CLERK:
 11/28/2023                               Kelly Shainline                        Lisa R. Clark

 PLF DEF TIME
 NO. NO. OFFERED               ID REC DESCRIPTION                                                           BY
         9:06 am                      Court in session; all parties and jury present.
               9:07 am                      Plaintiff calls Steve Tadelis, PhD
                                            Witness shown his slide deck
                                            Witness accepted as an expert in economics.
               10:12 am                     Stretch break.
               10:14 am                     Cross-examination of Steve Tadelis, PhD
                                            Witness shown a demonstrative by defense counsel.
               10:33 am                     Court in recess.
               10:53 am                     Cont’d cross-examination of Steve Tadelis, PhD
               11:17 am                     Re-direct of Steve Tadelis, PhD
                                            Defendants call Matthew Gentzkow, PhD -- direct
               11:25 am
                                            examination.
                                            Witness accepted as an expert in economics
                                            Active RSA 3.0 Premier or MIA Devices and Active
        6989                   X    X       Android Devices That Are Not RSA 3.0 Premier or MIA             LRC
                                            Devices United States (2)
                                            Active RSA 3.0 Premier or MIA Devices and Active
        6991                   X    X       Android Devices That Are Not RSA 3.0 Premier or MIA             LRC
                                            Devices Worldwide (excl. China) (2)
                                            Android Devices with a Preinstalled Alternative App Store
        6993                   X    X                                                                       LRC
                                            (United States)
                                            Android Devices with a Preinstalled Alternative App Store
        6994                   X    X                                                                       LRC
                                            Worldwide, excl. China
                                            Exhibit 1. "Worldwide Smartphone and Feature Phones
        7011                   X    X       Sales by Operating System (U.S. Dollars)" from Gentzkow         LRC
                                            Expert Report
                                            Exhibit 18. "Gross Revenue and Active Users from Fortnite
        7020                   X    X       on iOS and Android - Weekly Gross Revenue from Fortnite"        LRC
                                            from Gentzkow Expert Report
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PLF DEF TIME
NO. NO. OFFERED      ID REC DESCRIPTION                                                         BY
                            Exhibit 2. "Worldwide Android Smartphone Sales" from
   7028              X X                                                                        LRC
                            Gentzkow Expert Report
                            Exhibit 2. "Worldwise App Developer Revenue" from
   7031              X X                                                                        LRC
                            Gentzkow Expert Report
                            Exhibit 33. "Share of Active GMS Devices and Fortnite
   7073              X X    Compatible Active GMS Devices by RSA Type" from                     LRC
                            Gentzkow Expert Report
   7079              X X    No description provided.                                            LRC
                            Exhibit 35. "Share of Active Devices That Are Premier Tier
   7089              X X    of MIA Devices, Worldwide (Excluding China)" from                   LRC
                            Gentzkow Expert Report
                            Exhibit 36. "Share of Active Devices That Are Premier Tier
   7090              X X    of MIA Devices, United States" from Gentzkow Expert                 LRC
                            Report
                            Exhibit 4. "Share of New Apps That Pay Service Fees" from
   7095              X X                                                                        LRC
                            Gentzkow Expert Report
                            Exhibit 8. "Share of App Developer Revenue (User Spend)
   7102              X X    In Google Play by Monetization Type" from Gentzkow                  LRC
                            Expert Report
                            Exhibit C16. "Share of U.S. Active GMS Devices by RSA
   7114              X X                                                                        LRC
                            Type" from Gentzkow Expert Report
                            Exhibit C17. "Premier Tier Share of GMS Device
   7115              X X                                                                        LRC
                            Activations, United States" from Gentzkow Expert Report
                            Number of App Installations from Alternative Sources
   7178              X X                                                                        LRC
                            (United States)
                            Number of App Installations from Alternative Sources
   7179              X X                                                                        LRC
                            Worldwide (excl. China)
   9708              X X    No description provided.                                            LRC
          11:59 am              Court in recess.
                                Court in session; all parties and jury present. Cont’d direct
          12:36 pm              examination of Matthew Gentzkow, PhD by defense
                                counsel.
                                Stretch break
                                Cross-examination of Matthew Gentzkow, PhD by plaintiff’s
          1:38 pm
                                counsel
                                Witness shown exhibit 682
          1:58 pm               Court in recess
                                Court in session; all parties and jury present. Cont’d cross-
          2:20 pm
                                examination of Matthew Gentzkow, PhD.
          2:36 pm               Re-direct of Matthew Gentzkow, PhD.
          2:37 pm               Witness excused
                                Defendants call Catherine Tucker, PhD -- direct
          2:40 pm
                                examination.
                                Witness accepted as an expert in economics

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PLF DEF TIME
NO. NO. OFFERED      ID REC DESCRIPTION                                                    BY
                            Epic Revenue From All Fortnite Players By Device Type
   7002              X X                                                                   LRC
                            United States
                            Epic Revenue From Android Fortnite Players By Device
   7006              X X                                                                   LRC
                            Type United States
                            Epic Revenue From Android Fortnite Players By Device
   7008              X X                                                                   LRC
                            Type Worldwide (excl. China)
          3:38 pm           Jury at recess for the day.
                            Court has discussion with parties regarding the remainder of
                            the case.
          3:51 pm           Court in recess.
                                Plaintiff has 530 minutes left.
                                Defendants have 1265 minutes left.




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